      Case 2:12-cr-06025-EFS     ECF No. 117   filed 06/29/12   PageID.265 Page 1 of 2



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 4
 5                         UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,             )
 8                                          )
                         Plaintiff,         ) NO: CR-12-6025-EFS-2,3
 9                                          )
                                            )
10    v.                                    ) ORDER GRANTING MOTIONS TO
                                            ) MODIFY CONDITIONS OF RELEASE
11                                          )
                                            )
12    BLANCA BAEZ,                          )
      CAESARE CRISTEN BAEZ,                 )
13                                          )
                         Defendant.         )
14                                          )
                                            )
15
16         BEFORE THE COURT are the separate motions of Defendants Blanca Baez
17   and Caesare Cristen Baez to modify conditions of release to extend their curfews the
18   evening of the Fourth of July.
19         Having reviewed the motions and relevant pleadings and the government and
20
     U.S. Probation having no objection, the Court granted Defendants’ Motions to Modify
21
     Pretrial Conditions of Release (Ct. Recs. 102, 107).
22
           IT IS ORDERED that the Defendants’ conditions of release are modified as
23
     follows:
24
           1.    Defendants’ curfews are extended to midnight on July 4, 2012, to allow
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     them to attend the Fourth of July fireworks display with family.
26
           2.    All conditions of release previously imposed remain in full effect.
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      Case 2:12-cr-06025-EFS    ECF No. 117    filed 06/29/12   PageID.266 Page 2 of 2



 1         3.    The District Court Executive is directed to file this and provide copies
 2   to the Honorable Edward F. Shea, United States Probation Officers Curtis Hare and
 3   San Juanita Coronado and the U.S. Marshal.
 4
           DATED this 28th day of June, 2012.
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 6
                                             s/ James P.Hutton
 7                                          JAMES P. HUTTON
                                       U.S. MAGISTRATE JUDGE
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